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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

ERICA BRYANT,

       Plaintiff,

v.                                                       Case No: 8:24-cv-716-JSM-UAM

BOARD OF TRUSTEES FOR THE
UNIVERSITY OF SOUTH FLORIDA
and FLORIDA DEPARTMENT OF
EDUCATION,

       Defendants.


                                         ORDER

       THIS CAUSE comes before the Court on Defendants’ Motions to Dismiss (Dkts.

12, 15) and the respective responses in opposition and replies.         The Court, having

reviewed the relevant filings and being otherwise advised in the premises, concludes that

the motions should be granted to the extent that the federal claims should be dismissed with

prejudice because they were not timely filed. The Court declines to exercise supplemental

jurisdiction over the remaining Florida claims and remands the case to state court where it

was originally filed.

                                    BACKGROUND

       Plaintiff Erica Bryant alleges, among other things, that Defendants Board of

Trustees for the University of South Florida and Florida Department of Education

subjected her to unlawful race discrimination in violation of Title VII of the Civil Rights

Act. The case was originally filed in Florida state court alleging only Florida claims under
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the Florida Whistleblower Act and the Florida Civil Rights Act. Defendants removed the

action to this Court after Plaintiff amended her complaint to add the federal Title VII

claims.

       Defendants’ motions to dismiss argue, in relevant part, that it is undisputed that

Plaintiff failed to timely file her Title VII claims. As such, she cannot state a claim under

Title VII and the claims should be dismissed with prejudice under Federal Rule of Civil

Procedure 12(b)(6). After reviewing the relevant filings and applicable case law, the

Court agrees with Defendants.

                         MOTION TO DISMISS STANDARD

       Federal Rule of Civil Procedure 12(b)(6) allows a complaint to be dismissed for

failure to state a claim on which relief can be granted. When reviewing a motion to

dismiss, courts must limit their consideration to the well-pleaded allegations, documents

central to or referred to in the complaint, and matters judicially noticed. See La Grasta v.

First Union Securities, Inc., 358 F.3d 840, 845 (11th Cir. 2004) (internal citations omitted);

Day v. Taylor, 400 F.3d 1272, 1276 (11th Cir. 2005). Courts must accept all factual

allegations as true and view the facts in a light most favorable to the plaintiff. See

Erickson v. Pardus, 551 U.S. 89, 93–94, 127 S. Ct. 2197, 2200, 167 L. Ed. 2d 1081 (2007).

       Legal conclusions, however, “are not entitled to the assumption of truth.” Ashcroft

v. Iqbal, 556 U.S. 662, 664 (2009). In fact, “conclusory allegations, unwarranted factual

deductions or legal conclusions masquerading as facts will not prevent dismissal.” Davila

v. Delta Air Lines, Inc., 326 F.3d 1183, 1185 (11th Cir. 2003). To survive a motion to

dismiss, a complaint must instead contain sufficient factual matter, accepted as true, to


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“state a claim to relief that is plausible on its face.” Iqbal, 556 U.S. at 678 (internal

quotation marks and citations omitted). This plausibility standard is met when the plaintiff

pleads enough factual content to allow the court “to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Id. (internal citations omitted).

                                      DISCUSSION

       Defendants argue that Plaintiff’s Title VII claims should be dismissed as untimely,

because they were not brought within ninety days of the date her counsel actually received

the EEOC’s Determination and Notice of Rights letter. Under 42 U.S.C. § 2000e-5(b), if

the EEOC determines after an investigation “that there is not reasonable cause to believe

that the charge is true, it shall dismiss the charge and promptly notify” the employee.

After receiving a notice of dismissal from the EEOC, the employee under 42 U.S.C. §

2000e-5(f)(1) must sue the employer within ninety days. The employee bears “the initial

burden of establishing that he filed his Complaint within ninety days of his receipt of the

EEOC’s right-to-sue letter,” and “[o]nce the defendant contests this issue, the plaintiff has

the burden of establishing that he met the ninety day filing requirement.” Green v. Union

Foundry Co., 281 F.3d 1229, 1233–34 (11th Cir. 2002) (internal citations omitted).

       Nothing suggests that a “plaintiff should enjoy a manipulable open-ended time

extension which could render the statutory minimum meaningless.” Zillyette v. Capital

One Fin. Corp., 179 F.3d 1337, 1340 (11th Cir. 1999).            Administrative exhaustion

requires a plaintiff to “assume some minimum responsibility in resolving their claims.”

Zillyette, 179 F.3d at 1340.       However, a claimant incurs responsibility “without

conditioning a claimant’s right to sue under Title VII on fortuitous circumstances or events


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beyond his control which are not spelled out in the statute.” Id. (internal quotations

omitted).

       Of course, an “unexplained failure to visit a post office box for a long period of time

might result in a” time-barred claim, Id. at 1341 n.3 (citing Sousa v. NLRB, 817 F.2d 10,

11 (2d Cir. 1987)), even if, as in some instances, some delinquency is attributable to

coordination with a third party. See, e.g., Law v. Hercules, Inc., 713 F.2d 691 (11th Cir.

1983) (dismissing a suit as untimely because the plaintiff’s son procured a notice of right

to sue at the plaintiff’s direction and placed the letter in a common area); Bell v. Eagle

Motor Lines, Inc., 693 F.2d 1086 (11th Cir. 1982) (finding the plaintiff’s claim time-barred

because, after the plaintiff’s wife received the letter at a residence shared with the plaintiff,

the plaintiff failed to timely sue). But if a plaintiff does not receive notice “through no

fault of his or her own or because of circumstances beyond his or her control, ... the time

must begin to run from the time of actual receipt.” Zillyette, 179 F.3d at 1340–41.

       Here, the EEOC issued the applicable Determination and Notice of Rights on April

6, 2023.1 It is undisputed that the EEOC sent a copy of its right-to-sue letter to Plaintiff’s


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          The Court may consider the related EEOC documents without converting the motion into
a motion for summary judgment only if those documents are (1) central to the plaintiff’s claim and
(2) undisputed, meaning that the authenticity of the documents are not challenged. It is bedrock
law that the EEOC Charge of Discrimination and Notice of Right to Sue are central to the alleged
Title VII violations. See, e.g., Lambert v. Ala. Dept. of Youth Servs., 150 F. App’x 990, 991–92
(11th Cir.2005) (considering an EEOC charge of discrimination attached to a motion to dismiss in
affirming the dismissal of plaintiff’s Title VII claims); Brooks v. CSX Transp., Inc., No. 3:09–cv–
379–J–32HTS, 2009 WL 3208708, at *5 n. 6 (M.D. Fla. Sept.29, 2009) (finding that an undisputed
EEOC Charge of Discrimination was central to the plaintiff’s claims of racial and age
discrimination and thus was properly considered by the court on a motion to dismiss); E.E. O.C.
v. Stock Bldg. Co., No. 205CV306FTM29DNF, 2006 WL 462596, at *1 n .1 (M.D. Fla. Feb. 27,
2006) (considering a charge of discrimination attached to the motion to dismiss).



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counsel, Marie Mattox, via email to “Marie@Mattoxlaw.com,” at 12:26 p.m. the same day.

Despite receiving her right-to-sue letter on April 6, 2023, however, Plaintiff did not file

suit on the Title VII claims now at issue until she filed her Amended Complaint on March

11, 2024—some 340 days later, and well beyond the 90-day deadline, which expired on

July 5, 2023. As such, the Court agrees with Defendants that the Title VII claims are

subject to dismissal. See Santini v. Cleveland Clinic Florida, 232 F.3d 823, 825 (11th Cir.

2000) (“Title VII ... actions may not be brought more than 90 days after a complainant has

adequate notice that the EEOC has dismissed the Charge.”).

      Plaintiff’s Response does not persuade the Court to rule otherwise. Plaintiff’s

counsel argues that she did not see the e-mail and that such communications from the

EEOC are typically sent, not to her, but to her employee Joe Oldani. She further explains

that she did not open the e-mail from the EEOC and also argues that there was nothing

“special” about it to place her on notice. But this is no different than leaving a pile of

envelopes unopened for days—here 340 days—and then arguing that they were never

received. Accepting such an argument would render the 90-day requirement meaningless

and open the door to similar arguments of unopened e-mails. There is no question that the

e-mail was received regardless of whether counsel opened it. Also, both the Federal and

Florida Rules of Civil Procedure deem an e-mail received when it is sent, not opened, so

Plaintiff’s arguments to the contrary are unpersuasive. See Fed. R. Civ. P. 5; FL ST GEN

PRAC AND J ADMIN Rule 2.516.

       In sum, Plaintiff asks this Court to ignore nearly all established precedent, and the

clear language of Title VII, in allowing her to proceed on Title VII discrimination and


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retaliation claims that she did not file until 340 days after her counsel received a right-to-

sue letter from the EEOC. The Court will not oblige. Accordingly, the Title VII claims

will be dismissed with prejudice and the remaining claims will be remanded to state court

because the Court will not exercise supplemental jurisdiction at this early stage in the

proceeding.

       It is therefore ORDERED AND ADJUDGED that:

       1.     Defendants’ Motions to Dismiss (Dkts. 12, 15) are granted to the extent

              stated herein.

       2.     Plaintiff’s Title VII claims are dismissed with prejudice because they are

              untimely.

       3.     The Clerk of Court is directed to remand this action to the Thirteenth Judicial

              Circuit, in and for Hillsborough County, Florida, and provide that court with

              a copy of this Order.

       4.     The Clerk of Court is further directed to close this case.

       DONE and ORDERED in Tampa, Florida, this July 10, 2024.




Copies furnished to:
Counsel/Parties of Record




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